                                 OPINION
On November 4, 1991, appellee, James P. Morris, pleaded guilty to one count of attempted rape, in violation of R.C. 2923.02. He was subsequently sentenced by the Ashtabula County Court of Common Pleas to serve an indefinite term of incarceration of eight to fifteen years. On March 20, 1997, the Department of Corrections recommended that appellee be adjudicated a sexual predator under Ohio's version of Megan's Law, recently amended R.C. Chapter 2950. On June 18, 1997, appellee filed a motion to dismiss the registration requirements of the new law on the basis that the law is unconstitutional.
By judgment entry filed February 5, 1998, the trial court granted appellee's motion and dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the trial court's judgment dismissing the sexual predator proceedings is hereby affirmed on alternative grounds. ______________________ JUDGE ROBERT A. NADER
FORD, P.J.,
O'NEILL, J., concur.